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                     XHIBIT
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

SOMASUNDARAN KUMARAN                     §
                                         §
V.                                       §      CIVIL ACTION NO. 1:18-CV-00324
                                         §
ALBERT SANDIFER AND                      §
BRYCE TRANSPORT, INC.                    §

                   DEFENDANTS’ NOTICE OF REMOVAL
               EXHIBIT C: COPIES OF PLEADINGS ASSERTING
         CAUSES OF ACTION AND ALL ANSWERS TO SUCH PLEADINGS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

      COME NOW, Charles Sandifer and Bryce Transport, Inc., the defendants in the

above-captioned cause, and file copies of all pleadings asserting causes of action, all

answers to such pleadings, and copies of all processes and orders served upon the

defendants, as required by 28 U.S.C. § 1446(a) and Local Rule CV-81(c)(2).
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                                                                                       FILED
                                                                                       DISTRICT CLERK OF
                                                                                       JEFFERSON CO TEXAS
                                                                                       61712018 10:58 AM
                                                                                       JAMIE SMITH
                                                                                       DISTRICT CLERK
                                           CAUSE NO.
                                                                                       E-201883

          Somasundaran Kumaran                                        IN THE DISTRICT COURT OF

                 Plaintiff

          v.                                                          JEFFERSON COUNTY, TEXAS

          Albert Sandifer and Bryce Transport, Inc. §

                 Defendants                                                   JUDICIAL DISTRICT

                                                Original Petition

                 Plaintiff Somasundaran Kumaran complains of Albert Sandifer and Bryce Transport,

          Inc. and would respectfully show the Court the following:

                                                         I.

                                                Nature of Action

                 1.     Plaintiff suffered injuries as a result of being struck by Defendant's vehicle.

                                                        H.

                                                 Discovery Level

                 2.     Discovery in this matter may be conducted under Level 3 of the Texas Rules

          of Civil Procedure.

                                                        111.

                                            Jurisdiction and Venue

                 3.     The claims asserted arise under the common law of Texas.

                 4.     Venue is proper because the incident occurred in this County.

                 5.     Plaintiff seeks in excess of $1,000,000.00.
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                                                         IV.

                                                       Parties

                   6.    Plaintiff is a resident of Harris County, Texas.

                   7.    Defendant Albert Sandifer may be served at 21 E. Street, Miden, Louisiana

          71005.

                   8.    Defendant Bryce Transport, Inc. is a Louisiana company that may be served

          through its registered agent Kary Bryce at 151 Blazer, Drive, Sibley, Louisiana 71073.

                                                         V.

                                                        Facts

                   9.    On or about August 9, 2017, Plaintiff suffered severe and debilitating injuries

          as a result of Defendant's negligence. Sandifer was driving for Bryce Transport on the date

          in question and was cited for the incident. Specifically, Defendant changed lanes when

          unsafe and collided with Plaintiff. As a result of the collision, Plaintiff suffered severe

          Injuries to his neck, back, and other parts of his body.

                                                         VI.

                                                 Causes of Action

          A. Negligence.

                   10.   Plaintiffs repeat and reallege each allegation contained above.

                   11.   Plaintiffs sustained injuries because of Defendant's negligence and gross

          negligence when Defendant:

                         •   Failed to control his vehicle's speed;

                         •   Failed to operate his vehicle safely;
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                         •   Failed to keep a proper lookout:

                         • Failed to maintain a safe distance; and

                         • Other acts so deemed negligent or grossly negligent.

                 12.     As a result of Defendant's negligence, Plaintiff suffered severe physical injury.

          Plaintiff is entitled to recover for his injuries.

          B.     Negligent Hiring.

                 13.     Plaintiffs repeat and reallege each allegation contained above.

                 14.     Plaintiffs sustained injuries as a result of Defendant's negligent hiring because

          of Defendant's:

                                 Failure to conduct a reasonable and adequate interview of Mr. Sandifer
                                 as a potential employee.

                                 Failure to properly follow up on information not provided by Mr.
                                 Sandifer in the interview process.

                                 Failure to conduct a proper employment and background check.

                                 Failure to sufficiently investigate Mr. Sandifer's training, prior
                                 employment, criminal record, and past.

                         •       Failure to perform the required screening, testing, and physical of Mr.
                                 Sandifer.

                         •       Failure to adopt proper policies and procedures regarding the interview
                                 of a potential employee who will be driving a tractorltrailer on the
                                 highways of the State of Texas.

                         •       Such other and further acts of negligence as may be shown in the trial
                                 of this cause as discovery progresses.

          C'.    Negligent Training.

                 15.     Plaintiffs repeat and reallege each allegation contained above.
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                16.    Plaintiffs sustained injuries as a result of Defendant's negligent training

          because of Defendant's:

                       •      Failure to explain and demonstrate its safety policies and procedures to
                              Mr. Sandifer.

                       •      Failure to provide the necessary training to Mr. Sandifer regarding
                              driving this vehicle, vehicle safety, safety classes, how to properly and
                              safely drive the vehicle, the proper method to maintain a vehicle, the
                              proper way and the necessity of keeping the vehicle clean and in proper
                              working order, and in all matters regarding the proper and safe
                              operation of a vehicle and the maintenance of vehicle in various
                              situations.

                       •      Failure to properly train its drivers regarding all aspects of driver
                              safety.

                       •      Failure to train its employees, including Mr. Sandifer, regarding safe
                              and proper operation of a vehicle such as a person andior company of
                              ordinary care would have done in the same or similar circumstances.

                       •      Failure to provide and/or require regular follow-up driver education and
                              training.

                       •      Such other and further acts of negligence as may be shown in the trial
                              of this cause as discovery progresses.

          D.    Negligent Supervision, Retention, and Monitoring.

                 17.   Plaintiffs repeat and reallege each allegation contained above.

                18.    Plaintiffs sustained injuries as a result of Defendant's negligent supervision,

          retention and monitoring because of Defendant's:

                       •      Failure to monitor Mr. Sandifer to make sure that he was complying
                              with policies and procedures.

                       •      Failure to interview and test Mr. Sandifer to make sure he had read, and
                              was familiar with, understood, and followed the company policies and
                              procedures.

                       •      Failure to implement proper policies and procedures for its employees,
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                            Past and future loss of earnings;

                            Past and future physical pain and suffering and mental anguish;

                            Past and future impairment;

                            Past and future disfigurement;

                            Exemplary damages;

                            Interest on damages (pre- and post-judgment) in accordance with law;

                            Costs of court;

                            Such other and further relief as the Court may deem just and proper.

                                                     I V.

                                          Jury Trial Demanded

              Plaintiffs hereby demand a trial by jury.

                                                            Respectfully submitted,

                                                            PIERCE SKRABANEK BRUERA,
                                                            PLLC

                                                            /s/ M. Paul Skrabanek

                                                            M. PAUL SKRABANEK
                                                            State Bar No. 24063005
                                                            MICHAEL E. PIERCE
                                                            State Bar No. 24039117
                                                            3701 Kirby Drive, Suite 760
                                                            Houston, Texas 77098
                                                            Telephone: (832) 690-7000
                                                            Facsimile: (832) 616-5576
                                                            E-mail: service@psbfirm.com
                                                                   paulaDpsbfirm.com

                                                            ATTORNEYS FOR PLAINTIFF
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                EXHIBIT A
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                                            CAUSE NO.

          Somasundaran Kumaran                                       IN THE DISTRICT COURT OF

                   Plaintiff

          v.                                          §              JEFFERSON COUNTY, TEXAS

          Albert Sandifer and Bryce Transport, Inc. §

                   Defendants                         §                       JUDICIAL DISTRICT

               First Set of Interrogatories, Requests for Production. Requests for Admission, and
                                      Requests for Disclosure to Defendants

                   TO: Albert Sandifer may be served at 21 E. Street, Miden, Louisiana 71005.

                  TO: Bryce Transport, Inc. is a Louisiana company that may be served through its
                        registered agent Kary Bryce at 151 Blazer, Drive, Sibley, Louisiana 71073.

                   Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that Defendant

          respond to Plaintiff's interrogatories, requests for disclosure, requests for admissions. and

          produce for inspection and copying the documents and tangible things requested. Defendant

          shall file written responses to these requests within fifty (50) days after the date of service.

          Defendant shall provide the requested documents for inspection and copying at the law

          offices of Pierce Skrabanek, PLLC, 3701 Kirby Drive, Suite 760, Houston, Texas 77098.
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                                                       I.

                                  INSTRUCTIONS AND DEFINITIONS

           1.   When answering these requests, respondent is requested to refer to the attached
                instructions and definitions.

           2.   All information responsive to these requests which is within your knowledge,
                possession or control or within the knowledge, possession or control of your
                attorneys, agents or other representatives, as well as information you can obtain upon
                reasonable inquiry is to be divulged. If there is a request for all information on a
                given subject and you do not know all information, provide such information to the
                extent of your knowledge.

           3.   All responses must be made separately and fully. An incomplete or evasive response
                will he considered a failure to answer. Where necessary to give a broader scope to any
                of these requests. "and" includes "or" and vice versa, the past tense includes the
                present and vice versa, the singular includes the plural and vice versa, "any" includes
                "all" and vice versa, and "each" includes "every" and vice versa. The singular form of
                a noun or pronoun shall be considered to include within its meaning the plural form of
                the noun or pronoun so used, and vice-versa; the use of the masculine form of a
                pronoun shall also be considered to include within its meaning the feminine form of
                the pronoun so used, and vice-versa; and the use of any tense of any verb shall also be
                considered to include within its meaning all other tenses of the verb so used.

           4.   Each request should be construed independently and not by reference to any other
                request herein for purposes of limitation, unless one request specifically refers to
                another request.

           5.   The TEXAS RULES OF CIVIL PROCEDURE require you to supplement and amend your
                responses if you obtain information and as a consequence: (1) you know that a
                response to these requests was incorrect or incomplete when made, or (2) you know
                that a response, though correct and complete when made, is no longer true and
                complete.

           6.   If you do not answer a request based on any claim of privilege, provide a statement
                for each such request setting forth the following information:

                       (1)    A short statement identifying each privilege involving the basis
                              therefore;

                       (ii)   The facts upon which you relied to support the claim of privilege;




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                      (iii)   A description of all documents for which such privilege is claimed,
                              including:

                              a.     the type of document;
                              b.     a brief statement of the document's general topic matter;
                              c.     the date of the document;
                              d.     author(s) and their title(s) and position(s); and
                              e.     the identity of all persons to whom any contents of the
                                     documents have been disclosed.

                      (iv)    A description of all conversations for which such privilege is claimed,
                              including:

                              a.     the date of the conversation;
                              b.     a brief statement describing the general topic of the
                                     conversation;
                              c.     the persons participating in the conversation; and
                              d.     the identity of all persons to whom any portions of the contents
                                     of the conversation have been disclosed.

          7.   As required by the TEXAS RULES OF CIVIL PROCEDURE, your failure to respond to
               these requests within the time required, or failure to supplement your responses may
               result in entry of a judgment against you, the assessment of attorney's fees against
               you, or other sanctions of the Court.

          8.   "Document" and "documents" is to be defined as synonymous in meaning and equal
               in scope to the usage of this term in the TEXAS RUI FS OF CIVIL PROCEDURE and shall
               be used in their broadest sense and shall mean and include all written, printed, typed.
               electronic, recorded or graphic material of every kind and description, both originals
               and copies and all attachments and appendices thereto. Without limiting the
               foregoing, the term "document" and "documents" shall include all agreements,
               contracts, communications, correspondence, letters, telegrams, facsimiles, telexes,
               minutes, messages, memoranda, interoffice communication, e-mail, records, reports,
               books, summaries or other records of telephone conversations or interviews,
               summaries or other records of personal conversations, summaries or other records of
               negotiations, other summaries, diaries, diary entries, calendars, appointment books,
               time records, instructions, work assignments, visitor records, forecasts, statistical
               data, statistical statements, financial statements, work sheets, work papers, drafts,
               graphs, maps, charts, tables, accounts, analytical records, consultants' reports,
               appraisals, bulletins, brochures, pamphlets, circulars, trade letters, press releases,
               notes, notices, marginal notations, notebooks, telephone bill or records, bills,
               statements, records of obligation and expenditure, invoices, lists, journals,
               advertising. recommendations, files, printouts, compilations, tabulations, purchase
               orders, receipts, sell orders, confirmations, checks, canceled checks, letters of credit,
               envelopes or folders or similar containers, vouchers, analyses, studies, surveys,


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                transcripts of hearings, transcripts of testimony, expense reports, microfilm, micro-
                fiche, articles, speeches, tape or disc recordings. sound recordings, video recordings,
                film, photographs, punch cards, programs, data compilations from which information
                can be obtained (including matter used in data processing), and other printed, written,
                handwritten, typewritten, recorded, stenographic, computer-generated, computer-
                stored, or electronically stored matter, however and by whomever produced, prepared,
                reproduced, disseminated, or made. The terms "document" and "documents" shall
                include all copies of documents by whatever means made, except that where a
                document is identified or produced, identical copies thereof which do not contain any
                markings, additions, or deletions different from the original need not be separately
                produced. A DRAFT OR NON-IDENTICAL COPY IS A SEPARATE
                DOCUMENT WITHIN THE MEANING OF THIS TERM.

                Electronic Data Directive: Pursuant to the TEXAS RULES OF CIVIL PROCEDURE, all
                electronic data responsive to the requests below shall be provided via CD, DVD, or
                Floppy Disk in user readable fonnat (.txt or similar file types), or as otherwise agreed
                in a supplemental writing by the parties.

          9.    "Document" and "documents" shall mean and include all matter within the foregoing
                description that are in your possession, control or custody or in the possession, control
                or custody of any attorney for you or the existence of which you are aware and that
                you have access to or to which you can secure access. Without limiting the term
                "control." a document is deemed to be within your control if you have ownership,
                possession or custody of the document, or the right to secure the document or copy
                thereof from any person or public or private entity having physical possession thereof

          10.   "Communication" shall mean and include any transmission or exchange of
                information in the form of facts, ideas, inquiries, or otherwise, and shall include an
                exchange between two or more persons, whether orally or in writing, including
                without limitation any conversation or discussion face-to-face or by means of letter,
                note, memorandum, telephone, telegraph, telex, telecopier, cable, e-mail or some
                other electronic or other medium, and whether by chance or prearranged, formal or
                informal.

          I1.   "Referring" or "relating to" shall mean to concern, describe, explain, reference.
                contain or comment upon the subject matter referred to in the request and, in that
                regard, each request shall be interpreted broadly so as to promote the full disclosure
                of information.

          12.   "Person" shall mean all-natural persons and entities, including, without limitation,
                individuals, committees, agencies, commissions, firms, corporations, associations,
                partnerships, businesses, public agencies, departments, bureaus, boards, or any other
                form of public, private or legal entity, and all predecessors or successors in interest.

          13.   "Identify" or "identification" shall mean:


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               (a)   With respect to a natural person, to include, without limitation, full name,
                     title, job description, present business and home addresses (last known if
                     present addresses are unknown). If there have been changes in title or job
                     description during the time period covered by these interrogatories, all titles
                     and job descriptions should be given, together with the period during which
                     each one was held;

               (b)   With respect to a communication, to include, without limitation, the date,
                     time and approximate duration of the communication, a statement describing
                     the substance of the communication with particularity, the persons
                     participating in the conversation, the persons directing the communication to
                     take place, if any, and the identity of all persons to whom any portions of the
                     contents of the communication have been disclosed.

               (c)   With respect to a business entity, to include, without limitation, its name, date
                     and place of formation, and all its business addresses; and

              (d)    With respect to a document, to include, without limitation, title, type, date, the
                     identity of each person either wholly or in part participating in the preparation
                     or dissemination of, or who is referred to in, the document, addressee,
                     recipients, any identifying numbers or marks upon the face of the document.
                     subject matter or general nature, and the identity and location of each person
                     who has possession, custody or control of the document or, if a document has
                     been destroyed or is unavailable, the identity of each person who destroy the
                     document or who last possessed or controlled the document.

              (e)    When used with reference to an act, means, without limitation, to state with
                     particularity and certainty each and every item of behavior, communication
                     and/or tangible thing which constitutes the act, including the place, time and
                     date of each such item; to identify each and every person participating in the
                     act and to specify the items of behavior performed, information
                     communicated, and/or tangible things provided, by each such person; and to
                     identify each and every document and communication which constitutes or
                     describes the behavior, communication, tangible thing, or any part thereof.

              (f)    When used in reference to an omission to act, means, without limitation, to
                     state with particularity and certainty each and every item of behavior,
                     communication. and/or tangible thing which you contend should have been
                     performed, communicated, and/or provided, and the place, time, and date each
                     such performance or communication should have occurred, to identify each
                     and every natural person who, by reason of knowledge or particular
                     circumstances, you contend should have performed, communicated, and/or
                     provided each item of omitted behavior, communication and/or tangible thing;
                     and to identify each and every document or communication which you believe



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                        tends to establish that the omitted behavior, communication and/or tangible
                        thing should have been performed, provided, or communicated.

                 (g)    When used in reference to a lawsuit, means, without limitation, to state for
                        each criminal and/or civil action: the case, including the cause number, court,
                        and parties; your status as either plaintiff, Defendants, intervenor, impleader,
                        interpleader, or third-party plaintiff or Defendants; the substance of the
                        clairrt[s] and defense[s] asserted; and the ultimate disposition or resolution of
                        the claim[s] and defense[s].

           14.   "Petition" means Plaintiffs Original Petition in this case or any supplemental or
                 amended Petitions subsequently filed in this lawsuit.

           15.   "You," "Your," Defendant" or "Defendants" means Albert Sandifer and Bryce
                 Transport, Inc., and each of your agents, representatives, employees, assigns, officers,
                 directors, staff, affiliates, owned or controlled entities or agencies, and all other
                 persons acting in concert with you or under your control, whether directly or
                 indirectly, including any attorney. Where the answers called for are different for any
                 of the foregoing, state which portion of which answer applies to each.

           16.   "Accident" or "subject accident" shall refer to the crash on or about July 15, 2016, in
                 Sutton County, Texas, which forms the basis of this lawsuit.

           17.   "Plaintiff" shall mean Somasundaran Kumaran.

           18.   "Trip" shall refer to the transportation and/or movement of a vehicle and/or one load
                 or cargo, regardless of load size or type, from its origin(s) to final destinationfs) and
                 includes the travel, empty or unloaded, from that destination point to the next point or
                 location of loading, end of trip or new trip origin.

           19.   "Vehicle" or Your Vehicle'. shall refer to, unless otherwise defined in a specific
                 Request herein, the 18-wheeler truck being operated by Matthew Taylor at the time
                 the accident occurred.




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                                                        IL

                                                 Interrogatories

            1.   If you have not been correctly named or served in or by the Plaintiffs Original
                 Petition, state your correct legal name and the correct manner in which you can be
                 designated as a party Defendants and served with process in this action under the
                 allegations set forth in Plaintiffs Original Petition.

            2.   Did you have permission or authorization to operate said vehicle at the time and place
                 of the underlying accident?

            3.   If you were disciplined, e.g., fired, suspended or reprimanded, because of the
                 incident, state what action was taken, and when.

                 In reference to the trip underway at the time or just prior to the underlying accident,
                 please identify:

                        a.     where the trip originated:

                        b.     whether there were any cellular telephones, CB radios, two-way radios,
                               or other communication devices present in the vehicle driven by you;

                        c.     the telephone number and service provider of any cellular telephones
                               present in the vehicle driven by you at the time of the accident;

                        d.     the final destination for the trip; and

                        a.     any contracts signed or entered into pertaining to the trip.

            5.   Were any drug or alcohol tests (blood, urine, hair, or other) performed on you, at any
                 time during the 32 hours immediately following the subject collision? If so, state the
                 results of all such tests and the name, address, and phone number of the persons,
                 firms, or entities who administered said test and all such persons, firms, or entities
                 who are in possession of a copy of the results of said tests and appropriate chain of
                 custody forms.

            6.   When was the last time you consumed any alcohol, prescription medication, or over
                 the counter medication prior to this accident? For any such consumption, please state:

                        a.     whether it was alcohol, prescription medication, or over the counter
                               medication;

                        b.     how much was consumed: and



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                         c.      if it was prescription medication, what the medication is prescribed for;

            7.    Have you ever been prescribed contact lenses and/or glasses? If so, please state:

                  a.     whether this information is listed on your driver's license:

                  b.     whether you are required to wear contact lenses and/or glasses by the State of
                         Louisiana.

                  c.     what prescription of contact lenses and/or glasses you were prescribed;

                  d.     were you wearing contact lenses and/or glasses at the time of the incident
                         made the basis of this lawsuit; and

                  e.     if you were wearing contact lenses and/or glasses at the time of the incident
                         made the basis of this lawsuit, what was the prescription of those contact
                         lenses and/or glasses.

            8.    State each time that you have either pled guilty to or convicted of a criminal
                  offense. For each offense, provide the date of the offense, the date of guilty plea or
                  conviction, the charge you pled guilty to or were convicted of, the punishment
                  imposed, and the city. county and state where the charges were filed.

            9.    State each time you have received a traffic citation. For each citation, provide the
                  city, county and state where the citation was received, the date of the citation. the
                  offense you were cited for, the resolution of the citation (plea or adjudication), and the
                  fine or sentence imposed.

            10.   Describe each automobile accident you have been involved in. For each accident.
                  provide the date of the accident, the city, county and state where the accident
                  occurred, whether police prepared a report regarding the accident, whether you
                  received a citation in connection with the accident, whether anyone including you was
                  injured in the accident, and the approximate amount of property damage that resulted
                  from the accident.

            11.   State each time that your driver's license has been suspended or revoked and provide
                  the reason for the suspension or revocation.

            12.   Have you ever been licensed to operate a motor vehicle in any state other than
                  Louisiana? If your answer is yes, provide the state, when the license was issued, the
                  license number, whether the license was ever suspended or revoked, the reason for
                  suspension or revocation of the license, and whether the license is still active.

            13.   Provide the telephone number service provider, and name of the person or entity
                  billed for each cell phone you used for a period of three months before and three
                  months after the date of the accident which forms the basis of this lawsuit.


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           14.   Provide the name, telephone number, address, and a summary of the anticipated
                 testimony for each witness you intend to call at trial.

           15.   If you contend that Plaintiff was contributorily negligent, provide all facts, which
                 support your contention.

           16.   If you contend that the mechanical condition of the vehicle you were driving caused
                 or contributed to the accident, provide all facts which support your contention and
                 state when these conditions were first discovered.




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                                                       111.

                                            Requests for Production

            I.    Copy of DDEC reports for the Defendant driver for a period of one year prior to the
                  incident in question.

            2.    Copy of postings and webpages from any social networking site including but not
                  limited to Facebook, MySpace, Instagram, etc. for Defendant driver from one month
                  prior to the incident in question until six months after the incident in question.

            3.    Copy of XATA Systems reports for Defendant driver for a period of one year prior to
                  the incident in question.

            4.    Copy of Qualcomm's SensorTRACS reports for Defendant driver for the period of
                  one year prior to the incident in question.

            5.    Copies of the Defendant Driver's MVR records for the past three years gathered from
                  the requisite state agency under 49 C.F.R. § 391.23(a)(1).

            6.    Copies of police reports for any other vehicular collisions or incidents in which the
                  Defendant driver was involved.

                  Copies of pickup and delivery timesheets or invoices for the Defendant Driver for the
                  period of one year prior to the incident in question.

            8.    Copy of Defendants DOT performance reviews for the past five years.

            9.    Copy of Defendant's application for Motor Carrier Authority, including OP-1 form.

            10.   Copy of any roadside inspection reports for Defendant Driver for the past three years.

            11.   Copy of Defendant Driver's cell phone bill for one month preceding the incident and
                  for the date of the incident. This should list calls received, dates, and times.

            12.   Produce copies of all trip and/or operational documents pertaining to the movement of
                  cargo by Driver for the trip during which the accident occurred.

            13.   Copy of the citation the Defendant Driver received in connection with the incident in
                  question.

            14.   Documents detailing what load Defendant Driver was transporting immediately prior
                  to the incident in question.




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            15.   Documents detailing how the citation Defendant Driver received as a result of the
                  incident in question was resolved.

            16.   If Defendant Company is going to contend that Defendant Driver was not in the
                  course and scope of his employment at the time of the incident, provide documents to
                  support such an assertion.

            17.   Produce copies of all written instructions, orders, or advice given to Defendant Driver
                  in reference to cargo transported, routes to travel, locations to purchase fuel, cargo
                  pickup or delivery times issued by Defendant(s) or any other persons or organizations
                  for the trip during which the accident occurred.

            18.   Produce copies of all dispatch and/or operational records indicating assignment of
                  equipment and drivers to specific cargo pickup, transportation and delivery, dates and
                  times of pickup and delivery, movement of cargo, shippers and receivers of cargo,
                  and any other related operational records or documents, regardless of form for the trip
                  during which the accident occurred. This specifically includes all dispatch and
                  operational type computer generated documents and materials indicating the trips,
                  cargo, movements or activities of Driver.

            19.   Produce copies of all checks or otherwise described negotiable instruments issued to
                  Driver or his co-driver(s) given in payment as trip advances, loans, or for any other
                  purpose inclusive of checks issued for employee payroll, and/or for owner/operator or
                  trip lessors services in the possession of the Defendant(s) and concerning the trip
                  during which the underlying accident occurred. Specifically, copies of both the "front
                  and back" of each check and/or comchek issued to Driver, or any of his co-drivers is
                  requested.

            20.   Produce copies of any and all other "occupational or trip related documents" created
                  or received by Defendant(s) or any other persons or organizations, regardless of form
                  or description and not defined herein, in the possession of the Defendant(s) and
                  relative to the operations, activities, movements, cargo and trips accomplished by
                  Driver.

            21.   Produce copies of the Driver Qualification File (or files) maintained by Defendant(s)
                  on Dn ver.

            22.   Produce copies of all pre-employment questionnaires and other documents secured
                  from Driver prior to employment with Defendant(s).

            23.   Produce copies of all applications for employment secured both before and/or after
                  the actual date of contract or employment of Driver.

            24.   Produce copies of all medical examinations, drug tests, and certification of medical
                  examinations inclusive of expired and non-expired documents relative to Driver.


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            25.   Produce copies of all actual driver's road tests administered to Driver.

            26.   Produce copies of all actual driver's written tests administered to Driver.

            27.   Produce all training notes. certificates and attendance lists relative to Driver,
                  regardless of the date issued or the originator of such certificates.

            28.   Produce copies of all past employment inquiries sent to and/or secured from former
                  employers along with all responses received from former employers inclusive of all
                  U.S. mail, personal contact or telephone inquiries and results directed to or received
                  by Defendant(s) from past employers of Driver.

            29.   Produce copies of all inquiries to and answers received from any organization in
                  reference to the driver's license record of traffic violations and accidents directed to
                  and/or received by the Defendant(s), or other organizations on behalf of Defendant(s),
                  from state or federal governmental agencies relative to Driver's traffic and accident
                  record.

            30.   Produce copies of all road and/or written test cards, medical cards. certification of
                  driver qualification cards and any other motor carrier transportation related cards in
                  the possession of the Defendant(s) regardless of card issuance date or origin. This
                  specifically includes cards, as previously described herein, issued by other motor
                  carriers to Driver or his co-driver(s) presently in their personal possession.

            31.   Produce copies of all annual reviews, file reviews, and/or file summaries and related
                  documents found in the driver qualification file of Driver.

            32.   Produce copies of all documents relating to any drug and/or alcohol testing of Driver.

            33.   Produce copies of any and all other contents of Driver's Driver Qualification File.
                  regardless of subject, form, purpose, originator, receiver, title, or description.

            34.   Produce copies of the Driver Personnel File and/or any otherwise titled files on Driver
                  or in reference to Driver's services, from initial contract or employment with
                  Defendant(s) to the present date.

            35.   Produce copies of all hiring, suspension, termination, warning notices, complaints,
                  letters, memorandums and any other similar type documents, however named,
                  relating to Driver.

            36.   Produce copies of all prior industrial, vehicular, cargo, hazardous materials incidents,
                  health or accident reports, or other types of injury, sickness, accidents, or loss reports
                  or records inclusive of cargo shortage or damage reports, along with all related
                  documents to each such sickness. incident or accident that relate to Driver.


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            37.   Produce copies of all law enforcement agencies, audits andlor roadside equipment
                  and/or driver inspections reports, traffic citations or traffic warnings, inclusive of the
                  Defendant's file reviews or summaries of violations of company, state, or federal
                  laws, rules or regulations committed by Driver, or any of his co-driver(s).

            38.   Produce copies of any and all other documents found in such a file, as identified
                  Request Number 26, regardless of description, title, form, origin, or subject,
                  maintained by the Defendant(s) in reference to Driver,

            39.   Produce copies of driver compliance inspections or warnings and traffic citations
                  issued in reference to the activities of Driver, his co-driver(s), or driver trainers, by
                  any city, county, state or federal agency or law enforcement official in the possession
                  of the Defendant(s).

            40.   Produce copies of all objects, photographs, drawings, reports, statements, or
                  otherwise described documents or objects in the possession of Defendant(s) in
                  reference to the accident as defined herein, "excluding only" those written documents,
                  materials and objects that can be clearly identified as the work product of Defendant's
                  attorneys. This specifically includes any and all reports and written or electronically
                  recorded statements made by Defendant(s) to any other person, organization or
                  governmental entity.

            41.   Produce copies of any and all other accident and/or incident files and records
                  maintained by Defendant(s) in reference to any other vehicular accident, or incident,
                  prior to the occurrence of the accident in question, wherein Driver, or his co-driver(s),
                  or driver trainer, was the driver of a vehicle involved in the prior accidents or
                  incidents.

            42.   Produce copies of all time cards, time worked records or otherwise described work
                  time records created by Driver for the period from one year prior to the date of
                  accident to and including the date of accident.

            43.   Produce copies of any and all of Defendant's notices, directives, bulletins,
                  publications, and manuals of any type or otherwise described written instructions
                  which pertain to the day-to-day commercial truck fleet operating and safety
                  procedures to be followed by company personnel, managers, supervisors, dispatchers
                  and drivers. Specifically, any document relative to disciplinary policies or procedures
                  for late freight delivery or motor fleet safety in existence and which Defendant(s) had
                  in effect within one year of the underlying accident.

            44.   Produce copies of each and every insurance policy and/or agreement which may be
                  required to satisfy all or part of a judgment which may be entered in this action or to
                  indemnify or reimburse Defendant(s) for payments made to satisfy such a judgment.
                  This Request specifically refers to all coverage available to Defendant(s) and/or


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                  thought or believed to be available and in force when this accident occurred
                  indicating Defendant(s) as a named insured or omnibus insured or any other type
                  whether by application, binder, issuance of policy or extension of a grace period.

            45.   Produce copies of any document that any expert witness you may call to testify at trial
                  of this case has reviewed and/or will utilize to aid testimony.

            46.   Produce copies of any document or other item an expert witness you may call to
                  testify at trial of this case has reviewed or relied upon which relates to or in any way
                  concerns the Plaintiffs' damages or injuries suffered by Plaintiffs.

            47.   Produce copies of any document that any expert witness you may call to testify at trial
                  of this case has reviewed or relied upon in formulating his/her opinions that relates to
                  or concerns this litigation in any way.

            48.   Produce copies of any statements given to Defendant(s) by Plaintiffs or statements
                  given by and otherwise obtained by Defendant(s) from Plaintiffs.

            49.   Produce copies of any and all investigation and/or accident reports in Defendant's
                  possession excluding documents which constitute communications between agents or
                  representatives of Defendant(s) that were made subsequent to the occurrence upon
                  which this suit is based and in connection with or anticipation of the defense of claims
                  made a part of the pending litigation.

            50.   Produce a copy of the curriculum vitae of each expert witness you may call to testify
                  upon the trial of this case.

            51.   Produce copies of any documents or other writings which show or identify this
                  Defendant(s) as being either a public or private corporation.

            52.   Produce all non-privileged documents, records and/or other writings that evidence an
                  admission, in whole or in part, that the incident was caused by an act or omission or
                  fault or negligence of any person or entity.

            53.   Produce any photographs or videotapes of Plaintiff.

            54.   Produce copies of any documents reflecting settlement agreements, deals, and/or
                  understandings between Defendant(s) and any other party concerning the lawsuit or
                  the incident made the basis of this lawsuit.

            55.   Produce copies of any and all documents and/or reports, as well as all other tangible
                  things, physical models, compilations of data and other material prepared by any
                  expert whom you may call to testify, including the discoverable factual observations,
                  tests, supporting data, calculations, photographs and opinions of such expert with
                  regard to this case.


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           56.   Produce copies of any and all documents and tangible items furnished to each expert
                 you may call to testify at trial of this case.

           57.   Produce copies of any and all documents evidencing the reasons why the company
                 issuing any policy which would protect you against the risks sued hereon claims or
                 intends to claim that it has some ground for denying you coverage provided under
                 said policy.

           58.   Produce copies of any and ail charts, plans, photographs, or other documents intended
                 to be introduced into evidence on the issues of liability or damages.

           59.   Produce copies of any and all photographs, videotapes, movies, slides, etc., that in
                 any way relate to the incident made the basis of this suit.

           60.   Produce copies of any and all indemnity agreements between any of the parties to this
                 case.

           61.   Produce copies of any and all indemnity agreements between any party to this case
                 and any non-party which is relevant to the incident or injuries made the basis of this
                 suit.

           62.   Produce copies of any and all reports which have been obtained from any expert you
                 may call to testify at trial of this case.

           63.   Produce copies of any and all work papers, notes, and other documents in the file of
                 any expert witness who you may call to testify, or in the file of any expert witness
                 whose opinions will be relied upon in whole or in part by an expert you may call to
                 testify at the trial of this case.

           64.   Produce a copy of the title to the vehicle Driver was driving at the time of the
                 accident.

           65.   Produce copies of any and all photographs Defendant(s) has of the vehicles involved
                 in this accident and any and all photographs of the scene.

           66.   Produce copies of any and all contracts and agreements between this Defendant(s)
                 and any other Defendant and/or third party pertaining to work being performed or
                 furthered at the time of the accident.

           67.   Produce copies of any and all training materials or other documents concerning
                 driving safety Defendant(s) distributed to employees or agents from the time Driver
                 was hired through the present.

           68.   Produce copies of all ownership and registration papers pertaining to the Truck.


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            69.    Produce a copy of both sides of Driver's current driver's license(s).

             70.   Produce copies of any and all federal, county, city, police, state or other governmental
                   investigations concerning or regarding this accident.

             71.   Produce a true and correct listing of all motor vehicles owned by this Defendant(s)
                   from and including the time of the accident made the basis of this suit to the present.
                   Please include make and model of said vehicle, color of each, number of doors on
                   each vehicle and license plate number of each vehicle.

             72.   Produce copies of any and all tickets or citations received by Defendant(s) or Driver
                   as a result of this incident.

            73.    Produce copies of any and all records obtained by Defendant(s) pertaining to
                   Plaintiffs.

             74.   Produce the vehicle and all trailers and cargo carried by your vehicle at the time of the
                   underlying accident for inspection.

            75.    Produce all documents and communications generated as the result of a review,
                   andior in preparation for a review, of your operation by any federal, state, or other
                   similarly situated entity during the last five years.

            76.    Produce all inquiries and responses to state driving agencies and prior employers of
                   vour driver made pursuant to the Federal Motor Carrier Safety Regulations of the
                   U.S. Department of Transportation, Part 391.23.

            77.    Produce all inquiries and responses concerning annual reviews of driving records and
                   records of violations regarding your driver, made pursuant to the Federal Motor
                   Carrier Safety Regulations of the U.S. Department of Transportation, Part 391.25 and
                   391.27.

            78.    Produce a copy of any and all accident registers or master ledgers of accidents which
                   you maintain. Plaintiffs seek all such registers for the five years immediately prior to
                   this subject collision through and including the date of said subject collision.

            79.    Produce the original raw data and copies of any and all printouts of any on-board
                   recording device, an on-board computer, including printout for engine computer data;
                   Qualcom data printouts, trip recorder, trip master, or device known by any other name
                   which records information concerning the operation of the truck for the period
                   commencing 30 days before the subject collision through and including 10 days after
                   the subject collision.




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            80.    Produce all policies and procedures for testing your drivers for drug and/or alcohol
                   use.

             81.   Produce all records, logs, ledgers, documents, and/or other materials regarding.
                   pertaining to, or mentioning Driver or Plaintiffs.

             82.   Produce the results of any drug test performed on Driver within the 32 hours
                   immediately following the incident made the basis of this lawsuit.

             83.   Produce the results of any alcohol test performed on Driver within the eight hours
                   immediately following the incident made the basis of this lawsuit.

            84.    Produce a copy of Defendant's drug/alcohol policy and any other policy. however
                   named, regulating the use of drugs (prescription and non-prescription), alcohol and/or
                   other controlled substance that could impair driving ability.

            85.    Produce copies of any and all accident or incident files and records in Defendant's
                   possession concerning any and all other vehicular accidents in which Defendant(s), its
                   agents, employees, contractors or subcontractors have been involved and in which it
                   was alleged that personal injury and/or death resulted. This request is limited to
                   accidents which occurred during the course and scope of employment with
                   Defendant(s) or in furtherance of Defendant's interests.

            86.    Produce any and all on-board and remote recording devices that are meant to track
                   any data, movement, or other similarly identified information generated by the truck
                   involved in the underlying accident. This request includes, but is not limited to,
                   hubometer, tripmaster, Cadec, Qualcom, engine computer trip/data reports or similar
                   device.

            87.    Produce all incident/investigation reports created by Defendant(s) or a third party
                   working for Defendant(s) relating to this incident.

            88.    Produce all repair/maintenance records for the subject vehicle for the previous five (5)
                   years.

            89.    Produce all policies and procedures in place for investigations of accidents involving
                   your vehicles.

            90.    Produce all documents in your possession regarding any wireless satellite-based
                   mobile communications systems present in the tractor or trailer involved in the
                   incident underlying this lawsuit, especially documents reflecting any and all data
                   transmissions (and the content thereof) made or received and occurring within a
                   period of six hours before and after the incident in question.




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            91.   For the period of one week before and after the incident made the basis of this
                  lawsuit, product all documents reflecting any and all data transmissions and / or
                  telephone calls from any wireless cellular ("cell") telephones present in the tractor or
                  trailers involved in the incident made the basis of this lawsuit? In the alternative,
                  provide sufficient information for Plaintiffs to subpoena this information from the
                  relevant cellular wireless service provider.




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                                                         IV.

                                              Requests for Admission

                   Admit that Defendant Company has been properly named in Plaintiffs most recently
                   filed Petition/Complaint.

            2.     Admit that Defendant Company has not been properly named in Plaintiffs most
                   recently filed Petition/Complaint.

            3.     Admit that Defendant Driver has been properly named in Plaintiffs most recently
                   filed Petition/Complaint.

            4.     Admit that Defendant Driver has not been properly named in Plaintiff's most recently
                   filed Petition/Complaint.

            5.     Admit Defendant Driver received a citation resulting from the incident in question.

            6.     Admit Defendant Driver did not receive a citation resulting from the incident in
                   question.

            7.     Admit Defendant Driver paid for the citation he received as a result of the incident in
                   question.

            8.     Admit Defendant Driver did not pay for the citation he received as a result of the
                   incident in question.

            9.     Admit Defendant Company paid for the citation Defendant Driver received as a result
                   of the incident in question.

            10.    Admit Defendant Company did not pay for the citation Defendant Driver received as
                   a result of the incident in question.

            I 1.   Admit that venue is proper.

            12.    Admit that venue is improper.

            13.    Admit that persona] jurisdiction exists over Defendant Driver.

            14.    Admit that personal jurisdiction does not exist over Defendant Driver.

            15.    Admit that personal jurisdiction exists over Defendant Company.

            16.    Admit that personal jurisdiction does not exist over Defendant Company.



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             17.   Admit that this is a convenient forum.

             18.   Admit that this is an inconvenient forum

             19.   Admit Defendant Company trains drivers handle distractions while operating
                   company vehicles.

             20.   Admit Defendant Company does not train drivers to handle distractions while
                   operating company vehicles.

             21.   Admit Defendant Driver failed to control his speed immediately prior to the incident
                   in question.

             22.   Admit Defendant Driver did not fail to control his speed immediately prior to the
                   incident in question.

             23.   Admit the investigating officer conducted an adequate investigation of the incident in
                   question.

             24.   Admit the investigating officer did not conduct an adequate investigation of the
                   incident in question.

             25.   Admit you did not challenge the citation issued to Defendant Driver by the
                   investigating officer.

             26.   Admit you did challenge the citation issued to Defendant Driver by the investigating
                   officer.

             27.   Admit Defendant Driver was in the course and scope of his employment with
                   Defendant Company during the incident in question.

             28.   Admit Defendant Driver was not in the course and scope of his employment with
                   Defendant Company during the incident in question.

             29.   Admit Defendant Driver was negligent in failing to control his speed prior to the
                   incident in question.

             30.   Admit Defendant Driver was not negligent in failing to control his speed prior to the
                   incident in question.

             31.   Admit the brakes on Defendant Driver's vehicle were faulty on the date in question.

             32.   Admit the brakes on Defendant Driver's vehicle were not faulty on the date in
                   question.



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            33.   Admit Defendant Driver was negligent in causing the collision with Plaintiffs.

            34.   Admit Defendant Driver was not negligent in causing the collision with Plaintiffs.




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                                               Request of Disclosure

                   Plaintiff in the above-styled and numbered cause and, pursuant to Rule 194 of the

            Texas Rules of Civil Procedure, request that Defendant answer the following requests for

            disclosure separately and fully in writing. The answers to the requests shall be preceded by

            the request to which the answer pertains. The answers shall be returned to Plaintiff's

            attorney, Paul Skrabanek at 3701 Kirby Drive, Suite 760, Houston, Texas 77098. Pursuant

            to Rule 194, you are requested to disclose, within fifty (50) days of service of this request,

            the information and material described in Rule 194.2. With your response, please serve

            copies of all relevant documents and other tangible items. Specifically, please disclose:

                   (a)    The correct names of the parties to the lawsuit;

                   (b)    The name, address, and telephone number of any potential parties;

                   (c)    The legal theories and, in general, the factual basis of your claims or defenses;

                   (d)    The amount and any method of calculating economic damages;

                   (e)    The name, address, and telephone number of persons having knowledge of
                          relevant facts, and a brief statement of each identified person's connection
                          with the case:

                   (f)    For any testifying expert

                          (1)    The expert's name, address, and telephone number;

                          (2)    The subject matter on which the expert will testify;

                          (3)    The general substance of the expert's mental impressions and opinions
                                 and a brief summary of the basis for them, or if the expert is not
                                 retained by you, employed by you, or otherwise subject to your control,
                                 documents reflecting such information;

                          (4)    If the expert is retained by you, employed by you, or otherwise subject
                                 to your control:


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                             (A)    All documents, tangible items, reports, models, or data
                                    compilations that have been provided to, reviewed by, or
                                    prepared by or for the expert in anticipation of the expert's
                                    testimony; and

                             (B)    The expert's current resume and bibliography:

                (g)   Any discoverable indemnity and insuring agreements described in
                      Rule 192.3(f);

                (h)   Any discoverable settlement agreements described in Rule 192.3(g);

                (i)   Any witness statements described in Rule 192.3(h);

                (j)   All medical records and hills that are reasonably related to the injuries or
                      damages asserted or, in lieu thereof, an authorization permitting the disclosure
                      of such medical records and bills;

                (k)   All medical records and bills obtained by the responding party by virtue of an
                      authorization furnished by the requesting party.

                (1)   The name, address, and telephone number of any person who may be
                      designated as a responsible third party.


                                                          Respectfully submitted,

                                                          PIERCE SKRABANEK BRUERA,
                                                          PLLC

                                                          /s/ M. Paul Skrabanek

                                                          M. PAUL SKRABANEK
                                                          State Bar No. 24063005
                                                          MICHAEL E. PIERCE
                                                          State Bar No. 24039117
                                                          3701 Kirby Drive, Suite 760
                                                          Houston, Texas 77098
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                                                          Facsimile: (832) 616-5576
                                                          Email: service@psbfinn.com
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                                                          ATTORNEYS FOR PLAINTIFF


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                                  CAUSE NO. E-0201883

SOMASUNDARAN KUMARAN                         §           IN THE DISTRICT COURT OF
                                             §
V.                                           §           JEFFERSON COUNTY, TEXAS
                                             §
ALBERT SANDIFER AND                          §
BRYCE TRANSPORT, INC.                        §           172ND JUDICIAL DISTRICT

                          DEFENDANTS’ ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, Charles Sandifer and Bryce Transport, Inc., the defendants in the

above entitled and numbered cause, and file this their original answer to the plaintiff’s

original petition on file herein, and in support thereof would respectfully show the Court

as follows:

                                              I.
       The defendants hereby generally deny the allegations contained in plaintiff’s

petition on file herein pursuant to Rule 92 of the Texas Rules of Civil Procedure, and thus

assert their privilege of insisting that such allegations be proven by a preponderance of

credible evidence.

                                             II.
       Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, the defendants notify

all parties to this lawsuit of the defendants’ intent to introduce as evidence at any pretrial

proceeding or at trial any document produced by any party in discovery in this lawsuit.

                                             III.
       The defendants specifically reserve the right to amend their answer to plead any

affirmative defenses or other matters that must be specially pled and to assert any

counterclaims or third-party claims they may have after discovery in this case is complete.
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       WHEREFORE, PREMISES CONSIDERED, the defendants, Charles Sandifer and

Bryce Transport, Inc., move and pray the Court that upon trial hereof, the plaintiff recover

nothing, and that defendants go hence with their costs, and for such other and further

relief, both general and special, legal and equitable, to which the defendants may show

themselves justly entitled to receive.

                                                 Respectfully submitted,

                                                 ORGAIN BELL & TUCKER, LLP
                                                 P O Box 1751
                                                 Beaumont, TX 77704-1751
                                                 (409) 838-6412
                                                 (409) 838-6959 facsimile

                                                 /s/ Greg C. Wilkins
                                                 Greg C. Wilkins
                                                 State Bar No. 00797669
                                                 gcw@obt.com
                                                 Monica L. Wilkins
                                                 State Bar No. 24043968
                                                 mwilkins@obt.com

                                                 ATTORNEYS FOR DEFENDANTS,
                                                 CHARLES SANDIFER AND BRYCE
                                                 TRANSPORT, INC.




                              CERTIFICATE OF SERVICE

        I do hereby certify that on the 9th day of July, 2018, I electronically filed the
foregoing with the Jefferson County District Clerk via eFile Texas which will send
notification of such filing to each counsel of record.

                                                 /s/ Greg C. Wilkins
                                                 Greg C. Wilkins




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